Case 3:17-cv-00072-NKM-JCH Document 515 Filed 07/03/19 Page 1 of 3 Pageid#: 5492

                                                                                                07/03/2019

                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA
                                        Charlottesville Division

  ELIZABETH SINES et al.,                            )
       Plaintiffs,                                   )       Civil Action No. 3:17-cv-00072
                                                     )
  v.                                                 )       ORDER TO DEFENDANT
                                                     )       MATTHEW HEIMBACH
                                                     )
  JASON KESSLER et al.,                              )       By:        Joel C. Hoppe
            Defendants.                              )                  United States Magistrate Judge
                                                     )

            On July 2, 2019, the Court held a telephonic hearing on the record with Plaintiffs’

  counsel and pro se Defendant Matthew Heimbach1 to identify Heimbach’s outstanding discovery

  obligations, set a schedule for him to comply with those obligations, and discuss other procedural

  matters. See Order of June 21, 2019, at 2, ECF No. 508. Heimbach, who appeared and

  participated as directed, confirmed that he has received each of the Orders, discovery requests,

  and Stored Communications Act (“SCA”) consent forms that explain his outstanding discovery

  obligations. See id. at 2–4. Accordingly, Heimbach shall comply with the following steps and

  deadlines:

        1. Within seven (7) days from the date of this Order:

                a. Give Plaintiffs’ counsel a complete and accurate SCA consent form(s) allowing

                    Discord, Twitter, and any other social media provider to produce any

                    discoverable documents or electronically stored information (“ESI”) requested by

                    Plaintiffs’ counsel in this lawsuit. See Order of June 21, 2019, at 3; Order of Nov.

                    12, 2018, at 2, ECF No. 379.




  1
      Other Defendants also appeared and participated at the hearing.
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Case 3:17-cv-00072-NKM-JCH Document 515 Filed 07/03/19 Page 2 of 3 Pageid#: 5493




            b. Execute the Third Party Discovery Vendor contract mentioned in the Stipulation

               and Order for the Imaging, Preservation, and Production of Documents, ECF No.

               383 (“Imaging Order”). See Order of June 21, 2019, at 3; Order of Mar. 4, 2019,

               at 2–3, ECF No. 440.

            c. Complete and give to Plaintiffs’ counsel the Certification Form attached as

               Exhibit A to the Imaging Order. See Order of June 21, 2019, at 3; Order of Mar.

               4, 2019, at 2–3.

     2. Within fourteen (14) days from the date of this Order:

            a. Make available to the Third Party Discovery Vendor for imaging and collection

               any Electronic Devices or Social Media Account credentials identified in the

               Certification Form. See Order of June 21, 2019, at 3; Order of Mar. 4, 2019, at 3.

               After the Discovery Vendor has collected all ESI responsive to the parties’

               agreed-upon search terms, the Court will set another deadline for Heimbach to

               review the results and produce all nonprivileged materials to Plaintiffs’ counsel.

               See Order of June 21, 2019, at 3 n.2.

     3. Within twenty-one (21) days from the date of this Order:

            a. Provide complete and accurate written answers to Plaintiffs’ First Set of

               Interrogatories. See Order of June 21, 2019, at 3 & n.2; Order of Mar. 26, 2018, at

               3, ECF No. 287.

            b. Provide complete and accurate written responses to Plaintiffs’ Requests for

               Production of Documents, and produce or permit inspection of any requested

               documents or ESI that were not collected by the Discovery Vendor. See Order of

               June 21, 2019, at 3 & n.2; Order of Mar. 26, 2018, at 3.



                                                2
Case 3:17-cv-00072-NKM-JCH Document 515 Filed 07/03/19 Page 3 of 3 Pageid#: 5494




     4. On Friday August 9, 2019, Heimbach shall sit for a deposition by Plaintiffs’ counsel

        devoted exclusively to his conduct in pretrial discovery, including his efforts to preserve

        any documents, information, or materials that are potentially relevant to this litigation.

        See Order of June 21, 2019, at 4. The Court expects that Heimbach will participate in

        good faith as required by the Federal Rules of Civil Procedure and this Court’s prior

        discovery orders. See id. at 2. Plaintiffs are given leave to depose Heimbach in

        subsequent depositions on the merits of Plaintiffs’ allegations. Id. at 4; Fed. R. Civ. P.

        30(a)(2)(A)(ii)).

        It is so ORDERED.

        The Clerk shall send a copy of this Order to the parties.

                                                       ENTER: July 3, 2019



                                                       Joel C. Hoppe
                                                       U.S. Magistrate Judge




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